Case 2:18-cv-00523-JFW-JC Document 83-1 Filed 01/07/19 Page 1 of 31 Page ID #:1343



     1 Alexa M. Lawson-Remer (SBN 268855)
       lawsonr@sullcrom.com
     2 SULLIVAN & CROMWELL LLP
       1888 Century Park East, Suite 2100
     3 Los Angeles, California 90067-1725
       Telephone: (310) 712-6600
     4 Facsimile: (310) 712-8800
     5 Theodore Edelman (pro hac vice)
       edlemant@sullcrom.com
     6 Jessica Klein (pro hac vice)
       kleinj@sullcrom.com
     7 Lauren M. Goldsmith (SBN 293269)
       goldsmithl@sullcrom.com
     8 SULLIVAN & CROMWELL LLP
       125 Broad Street
     9 New York, New York 10004-2498
       Telephone: (212) 558-4000
    10 Facsimile: (212) 558-3588
    11 Aaron C. Morris (pro hac vice)
       amorris@immigrationequality.org
    12 IMMIGRATION EQUALITY
       40 Exchange Place, Suite 1300
    13 New York, New York 10005-2744
       Telephone: (212) 714-2904
    14
    15 Attorneys for Plaintiffs
    16
    17                      UNITED STATES DISTRICT COURT
    18                     CENTRAL DISTRICT OF CALIFORNIA
    19                     WESTERN DIVISION (LOS ANGELES)
    20 ANDREW MASON DVASH-                 )     Case No. 2:18-cv-00523-JFW-JCx
       BANKS AND E.J. D.-B.,               )
    21                                     )     MEMORANDUM OF POINTS AND
                           Plaintiffs,     )     AUTHORITIES IN SUPPORT OF
    22                                     )     PLAINTIFFS’ MOTION FOR
                       v.                  )     PARTIAL SUMMARY JUDGMENT
    23                                     )
       THE UNITED STATES                   )     Judge:        Hon. John F. Walter
    24 DEPARTMENT OF STATE,                )     Hearing Date: Feb. 4, 2018
       and THE HONORABLE                   )     Courtroom: 7A
    25 MICHAEL R. POMPEO,                  )
       Secretary of State,                 )
    26                                     )
                           Defendants.     )
    27                                     )
    28

                                  MEMORANDUM ISO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT
Case 2:18-cv-00523-JFW-JC Document 83-1 Filed 01/07/19 Page 2 of 31 Page ID #:1344



     1                                          TABLE OF CONTENTS
     2                                                                                               Page
     3 I.       PRELIMINARY STATEMENT ..................................................................... 1
     4 II.      STATEMENT OF RELEVANT FACTS ....................................................... 4
     5          A.      The Dvash-Banks Family ..................................................................... 4
     6          B.       The INA ................................................................................................ 6
     7          C.      The Application of the State Department’s Policy to the Dvash-
                        Banks Family ........................................................................................ 9
     8
                D.      The Complaint..................................................................................... 12
     9
         III.   ARGUMENT ................................................................................................ 13
    10
                A.      E.J. is Entitled to a Declaration Under Section 1503 that He
    11                  Acquired U.S. Citizenship At Birth Under Section 301(g) of the
                        INA...................................................................................................... 13
    12
                        a.        The State Department’s biological relationship
    13                            requirement is inconsistent with the text of Section
                                  301(g). ....................................................................................... 14
    14
                        b.        The State Department’s interpretation of Section 301(g)
    15                            also conflicts with the INA’s legislative purpose of
                                  maintaining family unity. ......................................................... 20
    16
                B.      The State Department’s Interpretation and Application of the
    17                  INA Violates the Due Process Clause. ............................................... 22
    18 IV.      CONCLUSION ............................................................................................. 25
    19
    20
    21
    22
    23
    24
    25
    26
    27
    28

                                                MEMORANDUM ISO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT
Case 2:18-cv-00523-JFW-JC Document 83-1 Filed 01/07/19 Page 3 of 31 Page ID #:1345


     1                                        TABLE OF AUTHORITIES
     2
                                                                                                                   Page(s)
     3
          Cases
     4
     5 Ashwander v. Tenn. Valley Auth.,
          297 U.S. 288 (1936) .......................................................................................... 22
     6
       Matter of Christopher YY. v. Jessica ZZ,
     7    159 A.D.3d 18 (3d Dep’t 2018) ......................................................................... 17
     8
       Elisa B. v. Superior Court,
     9    37 Cal. 4th 108 (2005) ........................................................................................ 17
    10 Fuller v. Idaho Dep’t of Corr.,
    11    865 F.3d 1154 (9th Cir. 2017) ............................................................................ 14
    12 Jaen v. Sessions,
    13    899 F.3d 182 (2d Cir. 2018) ........................................................................ passim

    14 Michael H. v. Gerald D.,
          491 U.S. 110 (1989) ...................................................................................... 16-17
    15
    16 Miller v. Albright,
          523 U.S. 420 (1998) ..................................................................................... 23, 24
    17
       Nation v. Esperdy,
    18
          239 F. Supp. 531 (S.D.N.Y. 1965) ..................................................................... 20
    19
       Neder v. United States,
    20    527 U.S. 1 (1999) ............................................................................................... 16
    21
       Obergefell v. Hodges,
    22    135 S. Ct. 2584 (2015) ............................................................................. 4, 22, 24
    23 Pavan v. Nathaniel Smith,
    24   137 S. Ct. 2075 (2017) ................................................................................ passim
    25 Richards v. Sec’y of State,
          752 F.2d 1413 (9th Cir. 1985) ............................................................................ 14
    26
    27 Russello v. United States,
          464 U.S. 16 (1983) ............................................................................................. 16
    28
                                                              -ii-
                                                  MEMORANDUM ISO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT
Case 2:18-cv-00523-JFW-JC Document 83-1 Filed 01/07/19 Page 4 of 31 Page ID #:1346


     1 Scales v. INS,
          232 F.3d 1159 (9th Cir. 2000) ..................................................................... passim
     2
       Sessions v. Morales-Santana,
     3    137 S. Ct. 1678 (2017) ......................................................................................... 7
     4
       Solis-Espinoza v. Gonzales,
     5    401 F.3d 1090 (9th Cir. 2005) ..................................................................... passim
     6 Sook Young Hong v. Napolitano,
     7    772 F. Supp. 2d 1270 (D. Haw. 2011) ............................................................... 21
     8 United States v. Juvenile Male,
     9   670 F.3d 999 (9th Cir. 2012) .............................................................................. 25

    10 Washington v. Glucksberg,
         521 U.S. 702 (1997) ........................................................................................... 24
    11
    12 Zablocki v. Redhail,
         434 U.S. 374 (1978) ...................................................................................... 22-23
    13
    14 Statutes
    15 1 U.S.C. § 7................................................................................................................ 5
    16 5 U.S.C. § 706(2)(A) ............................................................................................... 12
    17 8 U.S.C. § 1101(b)(1)-(2) ........................................................................................ 15
    18 8 U.S.C. § 1101(c)(2) .............................................................................................. 15
    19 8 U.S.C. § 1401................................................................................................. passim
    20 8 U.S.C. § 1409................................................................................................. passim
    21 8 U.S.C. § 1503................................................................................................. passim
    22 28 U.S.C. § 2412...................................................................................................... 13
    23
    24 Other Authorities
    25 8 FAM § 304.1-2 ................................................................................................ 7, 23
    26 41 AM. JUR. 2D Illegitimate Children § 8 ................................................................ 17
    27 U.S. CONST., art. V ........................................................................................... passim
    28 H.R. Rep. No. 85-1199 (1957) ................................................................................ 20
                                                                -iii-
                                                    MEMORANDUM ISO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT
Case 2:18-cv-00523-JFW-JC Document 83-1 Filed 01/07/19 Page 5 of 31 Page ID #:1347


     1 Parent, BLACK’S LAW DICTIONARY (10th ed. 2014) ............................................... 17
     2
     3
     4
     5
     6
     7
     8
     9
    10
    11
    12
    13
    14
    15
    16
    17
    18
    19
    20
    21
    22
    23
    24
    25
    26
    27
    28
                                                   -iv-
                                         MEMORANDUM ISO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT
Case 2:18-cv-00523-JFW-JC Document 83-1 Filed 01/07/19 Page 6 of 31 Page ID #:1348


     1               Plaintiffs Andrew Mason Dvash-Banks (“Andrew”) and his son E.J.
     2 D.-B. (“E.J.”) submit the following memorandum of points and authorities in
     3 support of their motion for partial summary judgment in the above-captioned
     4 action (the “Action”).1
     5                       I.    PRELIMINARY STATEMENT2
     6               This Action challenges the improper refusal of the United States
     7 Department of State (the “State Department,” and together with The Honorable
     8 Michael R. Pompeo in his official capacity as Secretary of State, “Defendants”) to
     9 recognize E.J. as a United States citizen at birth. Both E.J. and his twin brother,
    10 A.J. D.-B. (“A.J.,” and together with E.J., the “Twins”), met the eligibility
    11 requirements of Section 301(g) of the Immigration and Nationality Act (“INA”), 8
    12 U.S.C. § 1401(g) (“Section 301(g)”), for U.S. citizenship at birth when they were
    13 born on September 16, 2016 in Ontario, Canada to Andrew, a U.S. citizen, and his
    14 husband, Elad, an Israeli citizen, during their marriage.          Although the State
    15 Department recognizes A.J. as a U.S. citizen at birth, it denies that E.J. is a U.S.
    16 citizen, even though A.J. and E.J. are twin brothers with the same legal parents and
    17 are being raised together in the same home. (See SOF ¶¶ 33-34, 50, 91, 92, 147.)
    18               Andrew and Elad were married in 2010 (id. at ¶11), and decided to
    19 start a family (id. at ¶ 13). They conceived the Twins by means of assisted
    20 reproductive technology (“ART”) and have been the Twins’ only parents since the
    21 Twins’ birth in 2016.3 (Id. at ¶¶ 14, 17-18, 37, 39.) They are the only individuals
    22
         1
    23         E.J. brings his claims in this Action by and through his guardian ad litem
         and other parent, Elad Dvash-Banks (“Elad”).
    24   2
             Citations in this memorandum to “SOF” refer to Plaintiff’s Rule 56.1
    25 Statement of Uncontroverted Facts and Conclusions of Law in Support of
       Plaintiffs’ Motion for Partial Summary Judgment, filed concurrently with this
    26 memorandum.
    27   3
               Andrew and Elad each provided sperm to fertilize eggs from the same egg
         donor. (Id. at ¶¶ 14-15.)
    28


                                    MEMORANDUM ISO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT
Case 2:18-cv-00523-JFW-JC Document 83-1 Filed 01/07/19 Page 7 of 31 Page ID #:1349


     1 whom Ontario law recognizes as the Twins’ parents and they are named as the
     2 parents on the Ontario-issued Statement of Live Birth (the “birth certificate”) for
     3 each Twin. (Id. at ¶¶ 33-36, 41-42.) Andrew and Elad are the only individuals
     4 who have ever asserted any parental rights over the Twins (id. at ¶ 40), and they
     5 have raised the Twins as the children of their marriage since the day the Twins
     6 were born. (Id. at ¶¶ 37-38, 50-51.) The Superior Court of Justice, Ontario, issued
     7 an order (the “Canadian Order”) shortly after the Twins’ birth recognizing Andrew
     8 and Elad “for all purposes in law to be the parents” of E.J. (Id. at ¶ 41.) The court
     9 issued a parallel order for A.J. (Id. at ¶ 44.) This is consistent with the terms and
    10 intent of Andrew and Elad’s agreement with their gestational surrogate (the
    11 “Gestational Surrogate”), which provided that they were to have custody of the
    12 Twins “[i]mmediately upon the birth of the Child[ren]” (id. at ¶ 23).
    13               The State Department has resisted the reality that there are no
    14 distinctions between E.J.’s familial relationships and those of his twin brother A.J.
    15 Specifically, the State Department has declined to recognize E.J.’s U.S.
    16 citizenship, and has created an artificial and unwarranted distinction in the Dvash-
    17 Banks family by granting A.J.’s applications for a Consular Report of Birth
    18 Abroad (“CRBA”), which recognizes the recipient’s U.S. citizenship at birth, and
    19 U.S. passport, and denying E.J.’s applications. (Id. at ¶¶ 90-92.) The sole ground
    20 cited for the denial of E.J.’s applications was that Andrew, the U.S. citizen parent
    21 of both E.J. and A.J., does not share a biological connection with E.J. (id. at ¶¶ 93,
    22 97), a rationale that the Ninth Circuit specifically rejected nearly twenty years ago.
    23 In effect, the State Department has by fiat declared that Andrew is not E.J.’s
    24 parent, even though (i) Andrew and Elad were married when the Twins were born;
    25 and (ii) within days of E.J.’s birth, a Canadian court confirmed that Andrew and
    26 Elad are E.J.’s parents. (Id. at ¶¶ 31, 41.) Moreover, Andrew acts in all respects as
    27 one of the two parents of E.J. and A.J. and has lived with E.J. and A.J. since the
    28 Twins left the hospital following their birth. (Id. at ¶¶ 22-23, 37, 38, 50.) In
                                                  -2-
                                     MEMORANDUM ISO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT
Case 2:18-cv-00523-JFW-JC Document 83-1 Filed 01/07/19 Page 8 of 31 Page ID #:1350


     1 declining to recognize Andrew’s status as E.J.’s parent for purposes of the INA,
     2 the State Department has failed to recognize and honor the validity of Andrew’s
     3 marriage to Elad and the legitimacy of the children born during that marriage.
     4               To reach its conclusion, the State Department disregarded the INA’s
     5 plain text and erroneously required a biological relationship between E.J. and
     6 Andrew, his U.S. citizen parent. The State Department did so notwithstanding that
     7 (i) the text of the INA provision governing children born in wedlock (Section
     8 301(g)) contains no such condition; (ii) two unanimous decisions of the Ninth
     9 Circuit and a unanimous decision of the Second Circuit have held that Section
    10 301(g) does not include a biological relationship requirement, and no federal
    11 district or circuit court has interpreted Section 301(g) to include such a
    12 requirement, see Solis-Espinoza v. Gonzales, 401 F.3d 1090 (9th Cir. 2005); Scales
    13 v. INS, 232 F.3d 1159 (9th Cir. 2000); Jaen v. Sessions, 899 F.3d 182 (2d Cir.
    14 2018); and (iii) the companion provision to Section 301 which governs children
    15 born “out of wedlock,” 8 U.S.C. § 1409 (“Section 309”), imposes a biological
    16 relationship requirement, demonstrating that Congress specified such a condition
    17 when it sought to impose one and intended no such requirement for children who,
    18 like A.J. and E.J., were born in wedlock.4
    19               Instead of recognizing that E.J. acquired U.S. citizenship when he was
    20 born during the marriage of his U.S. citizen parent who had resided in the U.S. for
    21 the period required by Section 301(g)—all that the INA requires—the State
    22 Department classified E.J. as a child born “out of wedlock” (SOF ¶¶ 79-81), and
    23 therefore denied him the rights and benefits of U.S. citizenship.             The State
    24 Department did so in reliance on its policy of considering children born during the
    25 marriage of spouses who are not both the biological parents to have been born “out
    26
         4
    27        8 U.S.C. § 1401 (“Section 301”) and Section 309 are set out in full in
         Appendix A to this memorandum for the Court’s reference.
    28
                                                 -3-
                                    MEMORANDUM ISO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT
Case 2:18-cv-00523-JFW-JC Document 83-1 Filed 01/07/19 Page 9 of 31 Page ID #:1351


     1 of wedlock”—and therefore not eligible for citizenship determinations under
     2 Section 301(g)—which will always be the case for children of same-sex marriages
     3 between men. This policy not only violates the statute but also unfairly burdens
     4 and stigmatizes same-sex marriage and deprives same-sex spouses of the full
     5 constellation of rights and benefits of marriage to spouses in opposite-sex
     6 marriages in violation of the Due Process Clause of the Fifth Amendment. Pavan
     7 v. Nathaniel Smith, 137 S. Ct. 2075, 2077 (2017); see also Obergefell v. Hodges,
     8 135 S. Ct. 2584, 2601-02 (2015).
     9               Because E.J. meets all of the statutory criteria for U.S. citizenship at
    10 birth under Section 301(g), the Court should grant summary judgment to E.J.
    11 pursuant to 8 U.S.C. §1503(a) (“Section 1503”),5 and declare E.J. to be a U.S.
    12 citizen at birth. Not only does the plain language of the statute require this result,
    13 but Defendants’ policy of requiring a biological relationship between a child born
    14 outside the United States and his or her U.S. citizen parent and treating the
    15 offspring of same-sex marriages as born “out of wedlock” infringes the
    16 constitutional requirement to treat same-sex marriages with dignity and to accord
    17 them the same respect and benefits as opposite-sex marriages.               As a result,
    18 Plaintiffs are entitled to summary judgment on their due process claim as well.
    19                   II.    STATEMENT OF RELEVANT FACTS
    20       A.   The Dvash-Banks Family
    21               Andrew is a U.S. citizen who was born and raised in California, where
    22 he also attended high school and college. (SOF ¶¶ 1-5.) Andrew resided in the
    23 United States for a continuous period from his birth in 1981 through at least
    24
    25   5
              Section 1503(a) is set out in Appendix A to the Memorandum for the
       Court’s reference. It allows any person within the United States to file in the
    26 district in which he “resides or claims a residence” an action “for a judgment
       declaring him to be a national of the United States” if he “claims a right or
    27 privilege as a national of the United States and is denied such right or privilege …
       upon the ground that he is not a national of the United States.”
    28
                                                  -4-
                                     MEMORANDUM ISO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT
Case 2:18-cv-00523-JFW-JC Document 83-1 Filed 01/07/19 Page 10 of 31 Page ID
                                  #:1352

  1 October 2005. (Id. at ¶ 6.) In 2007, Andrew enrolled in a master’s degree program
  2 in Israel, where, in 2008, he met his now-husband, Elad.                (Id. at ¶¶ 7-8.)
  3 Thereafter, Andrew and Elad moved to Toronto,6 (id. at ¶ 10) and were married
  4 there on August 19, 2010 (id. at ¶ 11).
  5               Andrew and Elad decided to start a family, and they sought to
  6 conceive using ART. (Id. at ¶¶ 13-18.) As part of that process, Andrew and Elad
  7 provided their respective genetic material to create embryos using eggs from an
  8 anonymous egg donor (the “Donor”), which they did successfully. (Id. at ¶¶ 14-
  9 16.) In December 2015, Andrew and Elad then contracted with the Gestational
 10 Surrogate to carry two embryos to term. (Id. at ¶ 17.) Andrew and Elad entered
 11 into an agreement with the Gestational Surrogate (the “Surrogacy Agreement”)
 12 setting out the terms of the surrogacy arrangement. (Id.)                The Surrogacy
 13 Agreement provides, in part, that “Andrew and Elad (collectively called the
 14 ‘Intended Parents’) are a same-sex married couple who require assisted
 15 reproductive technology to have a child.” (Id. at ¶ 18.) The Surrogacy Agreement
 16 further provides that Andrew and Elad were to be “recognized as [the Twins’]
 17 parents immediately upon [their] birth,” which was understood to mean “as soon as
 18 the umbilical cord is cut”; that Andrew and Elad were “to assume full care of, and
 19 all parental responsibility for [the Twins]”; and to have “permanent custody” of the
 20 Twins. (Id. at ¶¶ 21-23, 25.) The Surrogacy Agreement also stated that the
 21 Gestational Surrogate waives all rights that she has or may in the future have to the
 22 custody of or access to the Twins. (Id. at ¶ 26.)
 23               Thereafter, two embryos, one of which was created using genetic
 24 material from Elad and the other of which was created using genetic material from
 25 Andrew, were implanted into the Gestational Surrogate. (Id. at ¶¶ 15, 19-20.) On
 26
      6
 27        When Andrew and Elad were married, the Defense of Marriage Act,
    1 U.S.C. § 7, precluded Elad from obtaining permanent residence in the United
 28 States through his marriage to Andrew.
                                               -5-
                                  MEMORANDUM ISO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT
Case 2:18-cv-00523-JFW-JC Document 83-1 Filed 01/07/19 Page 11 of 31 Page ID
                                  #:1353

  1 September 16, 2016, the Twins were born four minutes apart in Ontario, Canada.
  2 (Id. at ¶ 30.) Andrew cut E.J.’s umbilical cord at E.J.’s birth. (Id. at ¶ 32.) On
  3 September 28, 2016, when the Twins were just twelve days old, the Ontario
  4 Superior Court entered the Canadian Order, affirming that Andrew and Elad were
  5 both the parents of E.J., who was conceived using Elad’s sperm and an egg from
  6 the Donor. (Id. at ¶¶ 15, 41, 48.) Under Ontario law, Andrew and Elad are E.J.’s
  7 legal parents. (Id. at ¶¶ 37, 41.)7
  8               Andrew and Elad have raised the Twins and have been their parents
  9 since the moment the Twins were born. (Id. at ¶¶ 23, 38.) From the time the
 10 Twins left the hospital where they were born, Andrew, Elad and the Twins have
 11 lived together under one roof as a family. (Id. at ¶¶ 50-51.) Andrew and Elad are
 12 the only parents listed on E.J.’s and A.J.’s birth certificates. (Id. at ¶¶ 35-36.) No
 13 other individual has ever acted as a parent to A.J. or E.J., and no other individual
 14 has ever asserted parental rights over either child. (Id. at ¶¶ 39-40.) Andrew, Elad,
 15 A.J., and E.J. currently reside in Los Angeles, California. (Id. at ¶ 52.) The State
 16 Department accepts that Andrew and Elad are the Twins’ only legal parents, that
 17 the Twins were born during Andrew’s marriage to Elad, and that Andrew and Elad
 18 have provided sufficient proof of E.J.’s parentage. (Id. at ¶¶ 61-62, 147-149.)
 19       B.   The INA
 20               The INA specifies the eligibility requirements for U.S. citizenship at
 21 birth. These requirements differ for children of a marriage, covered in Section
 22 301(g), and children “born out of wedlock,” covered in Section 309. See 8 U.S.C.
 23 § 1401(g) (applies to children “born . . . of parents one of whom is an alien, and the
 24
      7
 25         The court’s order “directed” the appropriate official “to register the birth of
    the child so as to show the Applicants, Elad Dvash-Banks and Andrew Dvash-
 26 Banks, as the parents of the child.” (Id. at ¶ 43.) Pursuant to that order, Andrew
    and Elad were “recognized for all purposes in law to be the parents of the child.”
 27 (Id. at ¶ 41.) The Canadian Order also declared that the Gestational Surrogate was
    “not the mother of the child.” (Id. at ¶ 42.)
 28
                                                -6-
                                   MEMORANDUM ISO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT
Case 2:18-cv-00523-JFW-JC Document 83-1 Filed 01/07/19 Page 12 of 31 Page ID
                                  #:1354

  1 other a citizen of the United States”); id. § 1409 (applies to “children born out of
  2 wedlock”). On its face, Section 301(g) does not include a biological relationship
  3 requirement and, consistent with Congress’s purpose in enacting the INA of
  4 keeping families together, courts construing that provision—including the Ninth
  5 Circuit—have followed the statutory text and uniformly held that there is no such
  6 blood relationship requirement in Section 301(g).
  7                Section 301(g) provides, in relevant part, that a child born abroad is a
  8 U.S. citizen at birth if one of his or her married parents is a U.S. citizen and meets
  9 certain residency requirements. Although the word “wedlock” does not appear in
 10 Section 301(g), courts have consistently interpreted that Section to apply to
 11 children born abroad to married parents, in part, because of the provision’s contrast
 12 with Section 309, which is titled “Children born out of wedlock.” See, e.g.,
 13 Sessions v. Morales-Santana, 137 S. Ct. 1678, 1686 (2017) (referring to Section
 14 301(g) as “[a]pplicable to married couples”).
 15                In contrast to Section 301, which contains no reference to a “blood
 16 relationship” requirement, Section 309 imposes additional and different
 17 requirements, providing in relevant part that a child born abroad to an unwed U.S.
 18 citizen father is a citizen at birth only if the child establishes “a blood relationship
 19 between the person and the father . . . by clear and convincing evidence” and meets
 20 certain other requirements. 8 U.S.C. § 1409(a)(1).
 21                Despite the silence of Section 301 on the subject, and the contrast to
 22 Section 309, the State Department’s internal Foreign Affairs Manual (“FAM”),
 23 purports to impose a biological relationship test for applicants for issuance of a
 24 CRBA under Section 301. It does so by requiring that, to be considered born “in
 25 wedlock” (and thus to be covered by Section 301(g)), a child born outside the
 26 United States must have a biological relationship with both his married parents.
 27 (SOF ¶ 109.) See 8 FAM § 304.1-2 (“To say a child was born ‘in wedlock’ means
 28 that the child’s biological parents were married to each other at the time of the
                                                -7-
                                   MEMORANDUM ISO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT
Case 2:18-cv-00523-JFW-JC Document 83-1 Filed 01/07/19 Page 13 of 31 Page ID
                                  #:1355

  1 birth of the child.”). The State Department acknowledges that the FAM includes
  2 requirements not specifically set out in the INA (SOF ¶ 142), but purports to justify
  3 the FAM’s imposition of this requirement solely on the basis of its interpretation of
  4 the reference in Section 301(g) to “a person . . . born . . . of parents one of whom
  5 is a . . . citizen of the United States.” (See id. at ¶ 126.) It does not contend that
  6 the requirement is necessary for any governmental purpose, e.g., to address
  7 concerns about fraud in citizenship applications. (Id. at ¶ 138.) The provisions of
  8 the FAM represent the unilateral declarations of the State Department and are not
  9 the product of a formal adjudication or notice-and-comment rulemaking or
 10 congressional action. (See id. at ¶¶ 140-141.)
 11               The State Department’s interpretation of the contours of this supposed
 12 biological relationship requirement has been inconsistent.            Prior to 2014, in
 13 adjudicating applications for recognition of U.S. citizenship by children born
 14 outside the United States, the State Department applied Section 309 to a gestational
 15 mother, even when she was a child’s legal parent, if she had used a donor egg. (Id.
 16 at ¶ 128.) In 2014, the State Department reversed this decision, and began to apply
 17 Section 301(g) to such applications.        (Id. at ¶ 127.)      This change was not
 18 occasioned by any congressional amendment of the INA: the State Department
 19 simply changed its mind as to its interpretation of Section 301. (Id. at ¶¶ 129-130.)
 20 In connection with this change, the State Department considered, but decided
 21 against, reading Section 301 to apply to children born through ART to same-sex
 22 couples. (Id. at ¶¶ 131-132.)
 23               The State Department’s interpretation of Section 301(g) conflicts with
 24 the rulings of two federal circuit courts of appeals. Two Ninth Circuit decisions
 25 and a Second Circuit decision have held that Section 301(g) does not include a
 26 biological relationship requirement, and no federal court has read Section 301(g) to
 27 impose such a requirement. See Solis-Espinoza, 401 F.3d 1090; Scales, 232 F.3d
 28
                                               -8-
                                  MEMORANDUM ISO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT
Case 2:18-cv-00523-JFW-JC Document 83-1 Filed 01/07/19 Page 14 of 31 Page ID
                                  #:1356

  1 1159; Jaen, 899 F.3d 182. The State Department does not follow these court of
  2 appeals decisions and does not consider itself bound to do so. (SOF ¶¶ 134-137.)
  3     C.     The Application of the State Department’s Policy to the Dvash-
               Banks Family
  4
  5               On January 24, 2017, four months after the Twins were born, Andrew,
  6 Elad, and the Twins appeared in person at the U.S. Consulate in Toronto (the
  7 “Toronto Consulate”) to apply for documents evidencing each Twin’s U.S.
  8 citizenship—a CRBA and a U.S. passport. (SOF ¶¶ 53-55.)
  9             Andrew and Elad provided the Toronto Consulate with the requisite
 10 documentation for E.J., including his Statement of Live Birth, which identified
 11 Andrew and Elad as E.J.’s parents, proof of Andrew’s U.S. citizenship and
 12 residency history, and Andrew and Elad’s marriage certificate (id. at ¶ 56)—all
 13 that Section 301(g) of the INA requires for the applicant to be declared a U.S.
 14 citizen at birth. Vice Consul Frances Terri Day was assigned as the adjudicating
 15 officer for the Twins’ applications. (See id. at ¶ 57.) Ms. Day was charged with
 16 determining whether E.J. was entitled to recognition of U.S. citizenship, and she
 17 had authority to make a final determination. (Id. at ¶¶ 57-58.) She reviewed the
 18 submitted documents and interviewed the Dvash-Banks family. (Id. at ¶ 57.) Ms.
 19 Day accepted Andrew and Elad’s marriage license from the Ontario government as
 20 sufficient proof of their marriage and E.J.’s Statement of Live Birth as a timely
 21 filed Canadian birth certificate. (Id. at ¶¶ 59-60.) Ms. Day also accepted the latter
 22 document—which identified Andrew and Elad as E.J.’s parents—as sufficient
 23 proof that Andrew and Elad are E.J.’s legal parents. (Id. at ¶ 61.)
 24               Ms. Day reviewed the documentation and, during the interview,
 25 consulted with State Department colleagues, one of whom provided her with
 26 relevant sections of the FAM. (Id. at ¶¶ 66-67.) She referred to one or more
 27 sections of the FAM during her interview of the Dvash-Banks family. (Id. at ¶ 68.)
 28
                                               -9-
                                  MEMORANDUM ISO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT
Case 2:18-cv-00523-JFW-JC Document 83-1 Filed 01/07/19 Page 15 of 31 Page ID
                                  #:1357

  1               In the course of the interview, Ms. Day asked Andrew and Elad how
  2 they had conceived the Twins and whose egg and sperm had been used to conceive
  3 each of the children. (Id. at ¶ 63.) After consulting with her colleagues Larilyn
  4 Reffett and Margaret Ramsay, Ms. Day informed Andrew and Elad that, absent
  5 evidence of a biological relationship to Andrew, neither twin would qualify for
  6 U.S. citizenship. (Id. at ¶¶ 66-72.) Ms. Day further told Andrew and Elad that, if
  7 they wanted to proceed with the Twins’ applications, they would have to provide
  8 additional information demonstrating the biological relationship required by the
  9 State Department and suggested that one way to do so would be to provide DNA
 10 evidence for each child. (Id. at ¶¶ 72-73.) This approach offended and bewildered
 11 Andrew and Elad because, as Andrew expressed to Ms. Day, “these are our
 12 children. These are our sons. I’m the dad, and . . . Elad is the dad. . . . we’re the
 13 parents of these boys.” (Id. at ¶ 78.)
 14               Following the interview, Ms. Day signed a letter dated January 24,
 15 2017 addressed to Andrew, explaining that “in reference to your application for a
 16 U.S. passport and a [CRBA] for [A.J.] and [E.J.] . . . [t]he U.S. Consulate General
 17 in Toronto has considered the evidence you submitted and concluded that the
 18 blood relationship between a U.S. citizen parent and children have not been
 19 established by a preponderance of the evidence as required to support a claim to
 20 U.S. citizenship.” (Id. at ¶ 75.) Ms. Day designated the Twins’ applications as
 21 “pending,” a status reserved for applications that cannot be finally adjudicated on
 22 the day of an applicant’s interview. (Id. at ¶¶ 76-77.)
 23               Andrew and Elad subsequently submitted the requested DNA tests,
 24 the results of which reflected that A.J. was the biological child of Andrew, and E.J.
 25 was not. (Id. at ¶ 89.) Thereafter, on March 2, 2017, Ms. Day sent Andrew a letter
 26 by mail denying E.J.’s applications for a CRBA and U.S. passport. (Id. at ¶ 92.)
 27 On the same day, the Toronto Consulate issued a CRBA for A.J. (Id. at ¶ 91.)
 28
                                              -10-
                                  MEMORANDUM ISO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT
Case 2:18-cv-00523-JFW-JC Document 83-1 Filed 01/07/19 Page 16 of 31 Page ID
                                  #:1358

  1               The letter denying E.J.’s applications stated that “after careful review
  2 of the evidence you submitted with your child’s application, it has been determined
  3 that his claim to U.S. citizenship has not been satisfactorily established, as you are
  4 not his biological father.” (Id. at ¶ 93.) The letter additionally referenced the
  5 “Immigration and Nationality Act (INA) of 1952.” (Id.) It did so, however,
  6 without citing to any particular section, but simply asserting that the statute
  7 “requires among other things, a blood relationship between a child and the U.S.
  8 citizen parent in order for the parent to transmit U.S. citizenship.” (Id.) Because
  9 E.J. did not provide proof that he has a biological relationship to both Andrew and
 10 Elad, the Toronto Consulate apparently treated E.J. as a child born “out of
 11 wedlock” and adjudicated his application under Section 309.8 That, in turn, meant
 12 that the State Department had determined that E.J. was not born a legitimate son of
 13 Andrew and Elad’s marriage.9
 14               The sole basis for the denial of E.J.’s applications for a CRBA and
 15 U.S. passport was the lack of evidence of a biological connection between Andrew
 16 and E.J. (Id. at ¶ 97.) In reaching this determination, the Toronto Consulate
 17 purported to apply State Department policies for adjudicating U.S. citizenship
 18 applications for children born by means of ART processes. (Id. at ¶ 98.)
 19               As a result of the State Department’s denial of E.J.’s application, the
 20 Dvash-Banks family has suffered greatly. (Id. at ¶ 100.) Andrew and Elad feel the
 21   8
           Because the FAM recognizes only children whose two biological parents are
 22 married to each other as born in wedlock, presumably the State Department
    adjudicated the applications of E.J.’s twin brother A.J. under Section 309 as well.
 23 In A.J.’s case, however, the blood relationship requirement of Section 309 was met
    because Andrew, a U.S. citizen, is A.J.’s biological father (id. at ¶ 47).
 24 9
           Because the State Department improperly reads a biological relationship
 25 requirement into Section 301, it would have denied E.J’s application in any event.
    As is discussed below, there is no language in Section 301 referring to a blood
 26 relationship and no basis for reading such a requirement into Section 301 under the
    statutory scheme or in light of the Congressional purpose underlying the INA.
 27 Any such reading, as applied to same-sex marriages, would not only be counter-
    textual, but also would raise grave constitutional issues.
 28
                                              -11-
                                  MEMORANDUM ISO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT
Case 2:18-cv-00523-JFW-JC Document 83-1 Filed 01/07/19 Page 17 of 31 Page ID
                                  #:1359

  1 indignity of the U.S. Government’s refusal to recognize their marriage and the
  2 legitimacy of their children. (Id. at ¶ 101.) Their travel is significantly restricted
  3 or impaired because E.J. entered the United States on a tourist visa, which has
  4 expired, and although E.J. now has an Advance Parole document, it does not
  5 guarantee re-entry into the United States. (Id. at ¶ 102.) When the Dvash-Banks
  6 family has traveled, it is always with the fear that E.J., who does not have a U.S.
  7 passport, may not be permitted to re-enter the United States. (Id. at ¶ 103.) The
  8 Dvash-Banks family also has spent substantial time consulting with lawyers, their
  9 accountant and others about a range of issues, from E.J.’s immigration status to
 10 obtaining medical benefits and a Tax ID number for E.J., who does not have a
 11 Social Security number. (Id. at ¶ 104.) Above all, the Dvash-Banks family has
 12 endured, and continues to endure, the pain and stigma of the State Department’s
 13 refusal to recognize Andrew’s marriage to Elad and status as E.J.’s parent, and its
 14 treatment of E.J. as illegitimate. (Id. at ¶ 105.) They also must live with the
 15 invasion of their privacy resulting from their need to commence this Action in
 16 order to obtain publicly what should have been provided privately two years ago—
 17 recognition that E.J. was a U.S. citizen at birth, which would ensure that their
 18 family will never be separated across countries. (See id. at ¶ 106.)
 19      D.    The Complaint
 20               On January 22, 2018, Andrew and E.J. filed the Complaint in this
 21 Action, alleging that under the INA, “[a]t birth, both [E.J.] and [A.J.] qualified for
 22 United States citizenship pursuant to Section 301(g),” and seeking, in part, a
 23 declaration pursuant to Section 1503 that E.J. is a U.S. citizen at birth. The
 24 Complaint alleges that the State Department’s erroneous application of Section 309
 25 (instead of 301) is “arbitrary, capricious, an abuse of discretion, or otherwise not in
 26 accordance with law” in violation of Section 706(2)(A) of the Administrative
 27 Procedure Act (the “APA”).           The Complaint further alleges that the State
 28 Department’s refusal to treat E.J. as born in wedlock during Andrew and Elad’s
                                               -12-
                                   MEMORANDUM ISO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT
Case 2:18-cv-00523-JFW-JC Document 83-1 Filed 01/07/19 Page 18 of 31 Page ID
                                  #:1360

  1 marriage unconstitutionally discriminates against same-sex spouses and their
  2 children on the basis of sex and sexual orientation and deprives same-sex
  3 marriages of the same constellation of rights and benefits as is available to
  4 opposite-sex marriages, in violation of, among other provisions, the Due Process
  5 Clause of the Fifth Amendment. The relief sought in the Complaint includes: (i) a
  6 declaration that E.J. is a U.S. citizen at birth; (ii) a declaration that the State
  7 Department’s policy of classifying the children of same-sex married couples as
  8 “children born out of wedlock,” and its consequent refusal to recognize E.J.’s
  9 citizenship on that basis, both on its face and as applied to Plaintiffs, is
 10 unconstitutional and in conflict with the INA; (iii) an order permanently enjoining
 11 Defendants from continuing to discriminate against Plaintiffs by classifying the
 12 children of same-sex married couples as “children born out of wedlock,” and
 13 denying the children of same-sex married couples the right to acquire citizenship at
 14 birth pursuant to Section 301(g) on that basis; and (iv) an award of attorneys’ fees
 15 and costs as allowed by law, including an award of reasonable litigation costs
 16 incurred in this Action pursuant to 28 U.S.C. § 2412, and such other relief as the
 17 Court deems just and proper. (ECF No. 1.)
 18                                  III.   ARGUMENT
 19      A.    E.J. is Entitled to a Declaration Under Section 1503 that He
               Acquired U.S. Citizenship At Birth Under Section 301(g) of the INA.
 20
 21               The fundamental facts here are not in dispute. The parties agree that
 22 (i) Andrew is a U.S. citizen who satisfied Section 301’s residency requirements at
 23 the time of E.J.’s birth; (ii) E.J.’s legal parents, Andrew and Elad, were married at
 24 the time of E.J.’s birth; (iii) E.J. was born outside of the United States; (iv) Andrew
 25 and Elad are, and have been, E.J.’s legal parents and have acted as his only parents
 26 since his birth; (v) E.J. resides in California; and (vi) E.J. does not share a
 27 biological relationship with Andrew. (SOF ¶¶ 1, 2, 6, 29, 31, 37-40, 46, 52, 107,
 28
                                               -13-
                                   MEMORANDUM ISO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT
Case 2:18-cv-00523-JFW-JC Document 83-1 Filed 01/07/19 Page 19 of 31 Page ID
                                  #:1361

  1 147.)10 The parties’ only dispute relating to E.J.’s Section 1503 claim is a legal
  2 one: whether the INA imposes on persons like E.J., born during their parents’
  3 legally valid marriage, a requirement to demonstrate a biological relationship with
  4 both married parents as a prerequisite to recognition of U.S. citizenship at birth.
  5 The State Department declined to apply Section 301 to E.J.’s applications because,
  6 as the child of a male, same-sex couple, he could not meet the State Department’s
  7 requirement that a child’s biological parents be married to each other. The State
  8 Department’s construction of Section 301 to include such a requirement is
  9 inconsistent with the INA’s text and purpose, and has been rejected by federal
 10 courts of appeals, including twice by the Ninth Circuit. Because there is no
 11 genuine dispute of material fact and Defendants’ legal interpretation is meritless,
 12 E.J. is entitled to summary judgment on his claim under Section 1503, which
 13 “authorizes a de novo judicial determination of the status of the plaintiff as a
 14 United States national.” Richards v. Sec’y of State, 752 F.2d 1413, 1417 (9th Cir.
 15 1985).
 16         a.    The State Department’s biological relationship requirement is
                  inconsistent with the text of Section 301(g).
 17
 18               There is no dispute that Section 301(g) does not expressly impose a
 19 biological relationship requirement. (SOF ¶ 125.) The State Department purports
 20 to derive its position solely from the inclusion in Section 301(g) of the phrase
 21 “born … of parents,” which it interprets to require that a child’s biological parents
 22
      10
 23          On a motion for summary judgment, the moving party “must demonstrate
      that ‘there is no genuine dispute as to any material fact’ and that the party ‘is
 24   entitled to judgment as a matter of law.’” Fuller v. Idaho Dep’t of Corr., 865 F.3d
      1154, 1168 (9th Cir. 2017) (quoting Fed. R. Civ. P. 56(a)). For purposes of
 25   summary judgment, “[a] material fact is one that ‘might affect the outcome of the
      suit under the governing law,’ and a genuine dispute is one for which ‘a reasonable
 26   jury could return a verdict for the nonmoving party.’” Id. (quoting Anderson v.
      Liberty Lobby, Inc., 477 U.S. 242, 248 (1986)). The Court must draw all
 27   reasonable inferences “in the light most favorable to the nonmoving party.” Id. at
      1168-69 (internal quotation marks omitted).
 28
                                              -14-
                                  MEMORANDUM ISO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT
Case 2:18-cv-00523-JFW-JC Document 83-1 Filed 01/07/19 Page 20 of 31 Page ID
                                  #:1362

  1 are married to each other in order for a parent to convey U.S. citizenship under
  2 Section 301. (Id. at ¶¶ 123-126, 138.) That interpretation conflicts with the text
  3 and purpose of the INA and the decisions that have construed the statute.
  4                It is plain on the face of Section 301(g) that the statute does not
  5 impose a biological relationship requirement. Section 301(g) states simply that “a
  6 person born outside the geographical limits of the United States and its outlying
  7 possessions of parents one of whom is an alien, and the other a citizen of the
  8 United States who, prior to the birth of such person, was physically present in the
  9 United States” for the requisite period is a citizen at birth. Nothing in Section 301,
 10 or any other provision of the INA, suggests that in using the phrase “born . . . of
 11 parents,” Congress intended to refer only to biological or genetic parents.11 And,
 12 biology aside, there is no genuine dispute that Andrew is in fact and law E.J.’s
 13 parent: the State Department acknowledges that Andrew is E.J.’s legal parent; he is
 14 listed as a parent on E.J.’s birth certificate and he “is recognized for all purposes in
 15 law” under the law of Ontario, Canada to be one of E.J.’s “parents,” and he has,
 16 along with Elad, lived with the Twins since their birth. (SOF ¶¶ 33, 50, 145-148.)
 17 No individual other than Andrew and Elad is listed on E.J.’s birth certificate or has
 18 acted as his parent. (Id. at ¶¶ 35, 39.) The conclusion that follows from this is so
 19   11
           Except to clarify that the term “parent” includes a deceased parent, Title III
 20 of the INA, the Title that includes Sections 301(g) and 309, contains no definition
    of the term, let alone a definition limiting it to biological and/or gestational parents.
 21 See 8 U.S.C. § 1101(c)(2). Under Titles I and II of the INA, the term “parent” is
    defined as “a parent, father, or mother only where the relationship exists by reason
 22 of any of the circumstances set forth in subdivision (1) of this subsection.”
    Subdivision (1), in turn, defines the term “child” to mean “an unmarried person
 23 under twenty-one years of age” who, if not born in wedlock, meets certain criteria,
    such as having been “legitimated under the law of the child’s residence or
 24 domicile, or under the law of the father’s residence or domicile . . . .” 8 U.S.C.
    § 1101(b)(1)-(2). Taken together, Titles I, II, and III reflect that Congress intended
 25 a broad treatment of the term “parent” in the INA, imposing restrictions only in the
    case of children “not born in wedlock,” a situation not applicable to E.J. and others
 26 in his position. Furthermore, as is discussed separately below, Congress did not
    intend to replace the common law usage of the terms “legitimacy” and “birth in
 27 wedlock,” under which it is also plain that E.J. is the child of the marriage of
    Andrew and Elad.
 28
                                               -15-
                                   MEMORANDUM ISO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT
Case 2:18-cv-00523-JFW-JC Document 83-1 Filed 01/07/19 Page 21 of 31 Page ID
                                  #:1363

  1 obvious that even the Toronto Consulate, in writing to Andrew to deny E.J. his
  2 citizenship, referred to E.J. as “your child.” And so he is.
  3               Congress’s inclusion of a “blood relationship” requirement in Section
  4 309 (dealing with children born “out of wedlock”), but not in Section 301(g)
  5 (dealing with the children of a marriage) is further evidence that Congress intended
  6 children born in these different circumstances to be treated differently for purposes
  7 of acquiring U.S. citizenship. Specifically, the difference between the two parallel
  8 sections of the INA demonstrates that Congress intended that there be no
  9 biological relationship requirement under Section 301(g). See Scales, 232 F.3d at
 10 1165; Jaen, 899 F.3d at 189 (holding that “Congress clearly specified enhanced
 11 requirements for proof of parentage in the case of children born out of wedlock”
 12 and that “the ‘textual distinction’ between the sections regarding children of
 13 married parents and children of unmarried parents is strongly suggestive of a clear
 14 Congressional intent to treat the two categories differently on this point.”); see also
 15 Russello v. United States, 464 U.S. 16, 23 (1983) (“Where Congress includes
 16 particular language in one section of a statute but omits it in another section of the
 17 same Act, it is generally presumed that Congress acts intentionally and purposely
 18 in the disparate inclusion or exclusion.” (internal quotation marks omitted)).
 19               Moreover, as the Second Circuit determined in Jaen, absent evidence
 20 of a contrary congressional intent, statutory language should be viewed against the
 21 background of the common law. See Neder v. United States, 527 U.S. 1, 21 (1999)
 22 (“It is a well-established rule of construction that where Congress uses terms that
 23 have accumulated settled meaning under the common law, a court must infer,
 24 unless the statute otherwise dictates, that Congress means to incorporate the
 25 established meanings of these terms.” (alterations and internal quotation marks
 26 omitted)). The common law meaning of “parent” rests on the presumption that,
 27 where a child is born into a marriage, the married individuals are the child’s
 28 parents irrespective of their biological relationship to the child. See Michael H. v.
                                               -16-
                                   MEMORANDUM ISO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT
Case 2:18-cv-00523-JFW-JC Document 83-1 Filed 01/07/19 Page 22 of 31 Page ID
                                  #:1364

  1 Gerald D., 491 U.S. 110, 124 (1989) (describing the “presumption of legitimacy”
  2 as “a fundamental principle of the common law”). In the United States, nearly
  3 every state recognizes that the term “parent” generally refers not only to biological
  4 parents but to those who by marriage or otherwise have that status. See e.g., Jaen,
  5 899 F.3d at 189 (“New York state—like many states—incorporates the common
  6 law presumption of parentage into its domestic relations law.”); Elisa B. v.
  7 Superior Court, 37 Cal. 4th 108, 122 (2005) (explaining that California applies the
  8 “presumption of presumed parenthood”); 41 AM. JUR. 2D Illegitimate Children § 8
  9 (“[I]t is clear that such a presumption [of legitimacy for children born in wedlock]
 10 exists independently of statute in practically all jurisdictions.”); see also Parent,
 11 BLACK’S LAW DICTIONARY (10th ed. 2014) (defining the term “parent” as “[t]he
 12 lawful father or mother of someone”).
 13               The common law presumption that every child born in wedlock is the
 14 legitimate offspring of the child’s married parents applies even when only one
 15 spouse is the child’s biological parent, and even when the child’s parents are of the
 16 same sex. See Elisa B., 37 Cal. 4th at 125 (holding that the presumption of
 17 parenthood was not rebutted by proof that the plaintiff was not the biological
 18 parent of her same-sex partner’s children “because she actively participated in
 19 causing the children to be conceived with the understanding that she would raise
 20 the children as her own together with the birth mother, she voluntarily accepted the
 21 rights and obligations of parenthood after the children were born, and there are no
 22 competing claims to her being the children’s second parent”); Matter of
 23 Christopher YY. v. Jessica ZZ., 159 A.D.3d 18, 24 (3d Dep’t 2018) (“As the child
 24 was born to respondents, a married couple, they have established that the
 25 presumption of legitimacy applies, a conclusion unaffected by the gender
 26 composition of the marital couple or the use of informal artificial insemination by
 27 donor.”). Accordingly, the common law presumption of legitimacy, regardless of
 28 “blood” ties, forms the essential background against which the Section 301
                                              -17-
                                  MEMORANDUM ISO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT
Case 2:18-cv-00523-JFW-JC Document 83-1 Filed 01/07/19 Page 23 of 31 Page ID
                                  #:1365

  1 reference to a child having been “born . . . of parents” should be interpreted. To
  2 require a “blood relationship” not mentioned in the statute would contravene the
  3 longstanding recognition that a person need not be a biological relative of the child
  4 to be his parent and thereby to confer citizenship at birth.
  5               In two controlling decisions, one in 2000 and the other in 2005, the
  6 Ninth Circuit decided this exact issue of statutory interpretation. In each case, the
  7 court held that Section 301(g) prohibits the imposition of a biological relationship
  8 requirement on children born to married parents. In Scales, the petitioner was born
  9 during the marriage of his Philippine citizen mother and U.S. citizen father, but
 10 was not the biological child of his U.S. citizen father. 232 F.3d 1159, 1162. The
 11 Ninth Circuit nevertheless held—and in so doing conclusively refuted the sole
 12 basis for Defendants’ position with respect to E.J.’s Section 1503 claim—that “[a]
 13 straightforward reading” of the “born of parents” language in Section 301
 14 “indicates . . . that there is no requirement of a blood relationship.” Id. at 1164.12
 15 The court noted that, in contrast, Section 309 does require a blood relationship
 16 between a person born out of wedlock and a U.S. citizen father, but stated that the
 17 provision “d[id] not apply to Petitioner . . . because he was born to parents who
 18 were married at the time of his birth.” Id. The Ninth Circuit further explained that
 19 “[i]f Congress had wanted to ensure” that a person born to married parents only
 20 one of whom was a U.S. citizen “actually shares a blood relationship with an
 21 American citizen,” “‘it knew how to do so.’” Id. (quoting Custis v. United States,
 22 511 U.S. 485, 492 (1994)). The court expressly refused to defer to the FAM,
 23 concluding that it was so divergent from the statutory language as to not even be
 24
      12
 25        See also Scales, 232 F.3d at 1166 (“Section 1401 requires only that
    Petitioner be ‘born . . . of parents,’ one of whom is a U.S. citizen, in order to
 26 acquire citizenship. The record is uncontroverted that Petitioner was born to Topaz
    [non-U.S. citizen genetic mother] and Scales [U.S. citizen husband of genetic
 27 mother at time of birth] during their marriage. There is no requirement of a blood
    relationship between Petitioner and his citizen father, as there is for an illegitimate
 28 child.”).
                                               -18-
                                   MEMORANDUM ISO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT
Case 2:18-cv-00523-JFW-JC Document 83-1 Filed 01/07/19 Page 24 of 31 Page ID
                                  #:1366

  1 appropriately considered “an interpretation of § 1401.” See id. at 1165-66. The
  2 Second Circuit similarly observed in Jaen that “the government’s reliance upon the
  3 FAM language is particularly perplexing” because the FAM “does not even
  4 purport to interpret the statute, let alone to apply to the situation at hand.” 899
  5 F.3d at 187 n.4.
  6                The Ninth Circuit reaffirmed Scales in Solis-Espinoza, 401 F.3d 1090.
  7 There, the petitioner was born in Mexico and raised in the United States by his
  8 biological father, a Mexican citizen, and his father’s wife, a U.S. citizen, who were
  9 married at the time of the petitioner’s birth.         Id. at 1091-92.     The Board of
 10 Immigration Appeals determined that the petitioner “‘was born out of wedlock,’
 11 because his biological father was not married to his biological mother at the time
 12 of his birth.” Id. at 1092. On appeal, the Ninth Circuit reversed, holding that the
 13 petitioner “was a legitimate child, not born out of wedlock, and . . . thus a United
 14 States citizen pursuant to 8 U.S.C. § 1401(g).”          Id. at 1094.     The court thus
 15 reaffirmed that Section 301 does not condition eligibility for citizenship on the
 16 existence of a blood relationship with a U.S. citizen parent, confirming that “the
 17 requirement applied only to an illegitimate child and that it did not apply to
 18 someone who was not born ‘out of wedlock.’” Id. at 1093 (citing Scales, 232 F.3d
 19 at 1164). The court emphasized that “[i]n every practical sense,” the wife of the
 20 petitioner’s biological father was his “mother and he was her son.” Id. at 1094.13
 21   13
           The Second Circuit similarly rejected the notion that Section 301(g) includes
 22 a biological relationship requirement in Jaen, 899 F.3d 182. There, Jaen was born
    to a Panamanian mother who was married to a U.S. citizen father, but his birth
 23 certificate reflected that his “birth” or genetic father was not a U.S. citizen. See id.
    at 184-85. Interpreting the word “parent” in former Section 301(g), which is for
 24 relevant purposes identical to the current version, the Second Circuit concluded
    that the former version of Section 301(g) imported the “common law meaning of
 25 ‘parent’ . . . [and] therefore incorporated the longstanding presumption of
    parentage based on marriage” such that Jaen’s mother’s husband at the time of his
 26 birth would be considered his parent for purposes of evaluating his citizenship.
    See id. at 188. The court relied in part on the comparison of former Section 301(g)
 27 and former Section 309, concluding that “[t]here is no comparable additional
    requirement for the establishment of paternity in the section regarding citizenship
 28 via married parents,” former Section 301(g). Id. at 189 (emphasis in original).
                                               -19-
                                   MEMORANDUM ISO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT
Case 2:18-cv-00523-JFW-JC Document 83-1 Filed 01/07/19 Page 25 of 31 Page ID
                                  #:1367

  1               Those decisions make clear that (1) the term “parents” as used in
  2 Section 301(g) is not limited to biological parents; and (2) the presumption of
  3 legitimacy that applies when a child is born to married parents—codified in the
  4 INA—cannot be rebutted by evidence that an applicant for U.S. citizenship at birth
  5 does not have a biological tie to a U.S. citizen parent. Indeed, in Solis-Espinoza, it
  6 was undisputed that the petitioner did not share a biological relationship with his
  7 U.S. citizen parent—his father’s wife—but the court nonetheless rejected the same
  8 interpretation of the INA that the State Department applied to the adjudication of
  9 E.J.’s applications for a CRBA and U.S. passport. (SOF ¶ 135.) See Solis-
 10 Espinoza, 401 F.3d at 1091-92; see also Jaen, 899 F.3d at 185 (“[T]he INA
 11 incorporates the common law meaning of ‘parent’ into [Section 301(g)], such that
 12 a child born into a lawful marriage is the lawful child of those parents, regardless
 13 of the existence or nonexistence of any biological link”). Accordingly, the plain
 14 text and structure of Sections 301(g) and 309, as interpreted in Scales and Solis-
 15 Espinoza, foreclose the State Department from imposing a biological relationship
 16 requirement to withhold recognition of E.J.’s U.S. citizenship under Section
 17 301(g).
 18         b.    The State Department’s interpretation of Section 301(g) also
                  conflicts with the INA’s legislative purpose of maintaining family
 19               unity.
 20               The State Department’s interpretation of the INA also is inconsistent
 21 with the legislative history of the INA, which “clearly indicates that the Congress
 22 intended to provide for a liberal treatment of children and was concerned with the
 23 problem of keeping families of United States citizens and immigrants united.”
 24 H.R. Rep. No. 85-1199, at 7 (1957); see also Nation v. Esperdy, 239 F. Supp. 531,
 25 538 (S.D.N.Y. 1965) (“‘[T]hese provisions are designed to clarify or adjust
 26
 27 The Second Circuit confirmed that “our determination that a child born into a
    marriage is the child of that marriage is grounded in the common law and Supreme
 28 Court precedent, and reflected in New York state law.” Id. at 190.
                                              -20-
                                  MEMORANDUM ISO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT
Case 2:18-cv-00523-JFW-JC Document 83-1 Filed 01/07/19 Page 26 of 31 Page ID
                                  #:1368

  1 existing provisions of law in the interest of reuniting broken families . . .’”)
  2 (quoting 103 CONG. REC. 15,498 (1957) (statement of Sen. John F. Kennedy)).
  3 The Ninth Circuit recognized this purpose in concluding that the concerns
  4 animating the blood relationship requirement for unmarried fathers in Section
  5 309—that “‘the unmarried male . . . need not participate in the decision to give
  6 birth rather than to choose an abortion; that he need not be present at the birth; and
  7 for at least 17 years thereafter he need not provide any parental support . . . in order
  8 to preserve his right to confer citizenship on the child pursuant to [Section
  9 309]’”— are “not present if a child is born in wedlock.” Scales, 232 F.3d at 1164
 10 (quoting Miller v. Albright, 523 U.S. 420, 434 (1998)). In other words, the Ninth
 11 Circuit affirmed that it is rational to transmit citizenship from father to child where
 12 the father is married and intends to provide “parental support.” In rejecting a
 13 biological requirement in Section 301(g), the Ninth Circuit thus recognized that
 14 “[t]he [INA] was intended to keep families together [and] should be construed in
 15 favor of family units and the acceptance of responsibility by family members.”
 16 Solis-Espinoza, 401 F.3d at 1094; see Sook Young Hong v. Napolitano, 772 F.
 17 Supp. 2d 1270, 1278-79 (D. Haw. 2011) (collecting cases regarding the proposition
 18 that “maintenance of family unity and . . . the liberal treatment of children
 19 represent well-known goals of the INA”). The State Department’s interpretation of
 20 Section 301(g) to require proof of a biological relationship with a U.S. citizen does
 21 exactly the opposite, especially in cases of same-sex marriages such as Andrew
 22 and Elad’s. Indeed, this point is plainly evident from the State Department’s
 23 determinations here: it recognized A.J.’s U.S. citizenship, but not E.J.’s, even
 24 though these twin boys are being raised together in their family home by their
 25 same two parents.
 26               There is no genuine dispute in this Action as to the facts necessary to
 27 determine E.J.’s eligibility for a declaration of citizenship under Section 301(g).
 28 Indeed, the State Department acknowledges that it denied E.J.’s U.S. passport and
                                               -21-
                                   MEMORANDUM ISO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT
Case 2:18-cv-00523-JFW-JC Document 83-1 Filed 01/07/19 Page 27 of 31 Page ID
                                  #:1369

  1 CRBA applications based solely on its interpretation of Section 301 (SOF ¶¶ 96-
  2 97), an interpretation that the Ninth Circuit expressly rejected in Scales. That
  3 interpretation is foreclosed by the text and history of the INA, as well as binding
  4 Ninth Circuit precedent. As a result, E.J. is entitled to judgment as a matter of law
  5 on his claim under Section 1503 and a declaration that he is a U.S. citizen at
  6 birth.14
  7        B.   The State Department’s Interpretation and Application of the INA
  8             Violates the Due Process Clause.

  9               The parties do not dispute that Andrew and Elad were married at the
 10 time of E.J.’s birth, that Andrew and Elad are E.J.’s legal parents, or that Andrew
 11 and Elad are both men. (SOF ¶¶ 11, 12, 31, 147, 149.) Given these facts, the State
 12 Department’s application of a biological relationship requirement to E.J.’s CRBA
 13 application diminishes and demeans the right to marry as guaranteed by the Fifth
 14 Amendment of the Constitution. Andrew and E.J. are thus entitled to summary
 15 judgment on this claim as well.
 16               The State Department’s unilateral imposition of a biological
 17 relationship requirement denies same-sex married couples and their children the
 18 panoply of rights and benefits of marriage, including the right of a U.S. citizen
 19 parent in a same-sex marriage to transmit citizenship to his or her legal child even
 20 absent a biological relationship. See Pavan, 137 S. Ct. at 2077 (“differential
 21 treatment” of same-sex couples “infringes Obergefell’s commitment to provide
 22 same-sex couples the constellation of benefits that the States have linked to
 23 marriage” (internal quotation marks omitted)); see also Obergefell, 135 S. Ct. at
 24 2601-02 (States have “throughout our history made marriage the basis for an
 25 expanding list of governmental rights, benefits, and responsibilities”); Zablocki v.
 26   14
           This result also is necessary to avoid the serious constitutional questions
 27 raised by Plaintiffs under the Fifth Amendment. Cf. Ashwander v. Tenn. Valley
    Auth., 297 U.S. 288, 345-46 (1936) (Brandeis, J., concurring).
 28
                                              -22-
                                  MEMORANDUM ISO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT
Case 2:18-cv-00523-JFW-JC Document 83-1 Filed 01/07/19 Page 28 of 31 Page ID
                                  #:1370

  1 Redhail, 434 U.S. 374, 384 (1978) (“[T]he right to marry is part of the fundamental
  2 ‘right of privacy’ implicit in the Fourteenth Amendment’s Due Process Clause.”).
  3               The Supreme Court has long recognized the right of a married U.S.
  4 citizen parent to transmit U.S. citizenship to his or her foreign-born child. In
  5 Miller v. Albright, the Supreme Court explained:
  6               Under the terms of the INA, the joint conduct of a citizen
                  and an alien that results in conception is not sufficient to
  7
                  produce an American citizen . . . . If the two parties
  8               engage in a second joint act—if they agree to marry one
                  another—citizenship will follow.
  9
 10 523 U.S. 420, 433 (1998). As a result of Scales and Solis-Espinoza, it is settled
 11 law in the Ninth Circuit that the transmission of citizenship to the child of a
 12 married U.S. citizen’s foreign-born child is one of the incidents of marriage to
 13 which all married couples are equally entitled. Cf. Pavan, 137 S. Ct. at 2078 (due
 14 process is violated when a same-sex couple is denied a benefit state law attaches to
 15 marriage, even when one husband “is definitively not the biological father”).
 16 Unlike in Pavan, the settled law here is federal—the INA, as reinforced by the
 17 Ninth Circuit’s construction of the statute in Scales and Solis-Espinoza.
 18               The FAM section on which the State Department apparently relied in
 19 denying E.J.’s applications in effect required that to be considered born “in
 20 wedlock,” and therefore eligible for citizenship under Section 301, a child must
 21 have been born during the marriage of the child’s biological parents to each other.
 22 See 8 FAM § 304.1-2. This is, of course, an impossibility in the case of a male
 23 same-sex couple.      By applying Section 309 and reading into Section 301 a
 24 biological relationship requirement absent from its text to analyze the citizenship
 25 of such children, the FAM dictates that, if the biological parent of the child of a
 26 same-sex marriage is a foreign national, as is the case here, the child is ineligible
 27 for citizenship at birth.    In so doing, the State Department’s counter-textual
 28 interpretation of the INA relegates the children of two married men inevitably to
                                              -23-
                                  MEMORANDUM ISO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT
Case 2:18-cv-00523-JFW-JC Document 83-1 Filed 01/07/19 Page 29 of 31 Page ID
                                  #:1371

  1 the stigma of illegitimacy simply because of their parents’ sex and sexual
  2 orientation.    The State Department’s interpretation thus eviscerates the right,
  3 provided in Section 301 and confirmed in Miller and its progeny, of a married U.S.
  4 citizen to transmit citizenship to the child of his or her marriage. Only in this way
  5 could the State Department achieve the perverse result of the Twins’ being treated
  6 differently despite their common parentage and identical living situations.
  7                The deprivation of these rights and benefits violates the Fifth
  8 Amendment. See Pavan, 137 S. Ct. at 2077; see also Obergefell, 135 S. Ct. at
  9 2601-02 (observing that laws that deny same-sex married couples “the
 10 constellation of benefits . . . linked to marriage” violate the constitutional right to
 11 marry by consigning them “to an instability many opposite-sex couples would
 12 deem intolerable in their own lives” and by “teaching that gays and lesbians are
 13 unequal in important respects.”).
 14                Any argument that the State Department applies the FAM’s biological
 15 relationship requirement to the children of opposite-sex marriages is beside the
 16 point. The INA makes the ability to transmit U.S. citizenship to the child of a
 17 marriage part of the constellation of benefits linked to marriage.              The State
 18 Department’s imposition of a biological relationship requirement completely
 19 forecloses the children of male same-sex marriages, like E.J., from being treated as
 20 the legitimate children of their parents’ marriages and, in many cases, from being
 21 recognized as U.S. citizens at birth.          In this way, the State Department’s
 22 interpretation of the INA deprives every male same-sex married couple of one of
 23 the incidents of marriage and discriminates against and stigmatizes their children.
 24                Given that the State Department’s actions infringe a constitutional
 25 right guaranteed by the Fifth Amendment, Defendants bear the burden of
 26 establishing that there is a compelling governmental interest in doing so, and that
 27 the rule being defended is narrowly tailored to achieve that compelling
 28 governmental interest. See Washington v. Glucksberg, 521 U.S. 702, 721 (1997)
                                               -24-
                                   MEMORANDUM ISO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT
Case 2:18-cv-00523-JFW-JC Document 83-1 Filed 01/07/19 Page 30 of 31 Page ID
                                  #:1372

  1 (explaining that substantive due process “forbids the government to infringe . . .
  2 ‘fundamental’ liberty interests at all, no matter what process is provided, unless the
  3 infringement is narrowly tailored to serve a compelling interest” (emphasis in
  4 original) (internal quotation marks omitted)); United States v. Juvenile Male, 670
  5 F.3d 999, 1012 (9th Cir. 2012) (when a statute abridges a fundamental right, “the
  6 statute will be subject to strict scrutiny and is invalidated unless it is narrowly
  7 tailored to serve a compelling state interest.” (internal quotation marks omitted)).
  8 Defendants, however, fail to assert any interest, let alone a compelling reason, for
  9 excluding from consideration for citizenship under Section 301(g) applicants who,
 10 like E.J., were born during the marriage of their U.S. citizen parent and the
 11 biological parent of the child. Indeed, the State Department has acknowledged that
 12 the only basis for this policy is its (misguided) interpretation of the text of the
 13 statute.   (SOF ¶ 126.)    Given this wholesale failure, Plaintiffs are entitled to
 14 summary judgment on their due process claim.
 15                                 IV.    CONCLUSION
 16               For the foregoing reasons, Plaintiffs request that the Court grant in full
 17 their motion for partial summary judgment and declare that E.J. is a U.S. citizen at
 18 birth under Section 301(g), declare that Defendants’ interpretation and application
 19 of Section 301(g) to require proof of a biological relationship with a U.S. citizen is
 20 unconstitutional and unlawful, enjoin Defendants from continuing to interpret
 21 Section 301(g) in that manner, and grant attorneys’ fees and costs and any such
 22 other and further relief as the Court deems to be just and proper.
 23
      Dated:      January 7, 2019            Respectfully submitted,
 24
                                          By: /s/ Alexa M. Lawson-Remer
 25                                           Alexa M. Lawson-Remer (SBN 268855)
                                              lawsonr@sullcrom.com
 26                                           SULLIVAN & CROMWELL LLP
                                              1888 Century Park East, Suite 2100
 27                                           Los Angeles, California 90067-1725
                                              Telephone: (310) 712-6600
 28                                           Facsimile: (310) 712-8800
                                              -25-
                                  MEMORANDUM ISO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT
Case 2:18-cv-00523-JFW-JC Document 83-1 Filed 01/07/19 Page 31 of 31 Page ID
                                  #:1373
                                          Theodore Edelman (pro hac vice)
  1                                       edlemant@sullcrom.com
                                          Jessica Klein (pro hac vice)
  2                                       kleinj@sullcrom.com
                                          Lauren M. Goldsmith (SBN 293269)
  3                                       goldsmithl@sullcrom.com
                                          SULLIVAN & CROMWELL LLP
  4                                       125 Broad Street
                                          New York, New York 10004-2498
  5                                       Telephone: (212) 558-4000
                                          Facsimile: (212) 558-3588
  6
                                          Aaron C. Morris (pro hac vice)
  7                                       amorris@immigrationequality.org
                                          IMMIGRATION EQUALITY
  8                                       40 Exchange Place, Suite 1300
                                          New York, New York 10005-2744
  9                                       Telephone: (212) 714-2904
 10                                       Attorneys for Plaintiffs
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
                                           -26-
                               MEMORANDUM ISO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT
